                         Case 23-17601-EPK            Doc 8      Filed 09/23/23       Page 1 of 1




                                          United States Bankruptcy Court
                                                Southern District of Florida
 In re   MV Realty of Colorado, LLC                                                    Case No.
                                                              Debtor(s)                Chapter     11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for MV Realty of Colorado, LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
MV Realty PBC, LLC
815 Broken Sound Parkway
Suite 140
Boca Raton, FL 33487




 None [Check if applicable]




September 21, 2023                               /s/ Michael D. Seese
Date                                             Michael D. Seese
                                                 Signature of Attorney or Litigant
                                                 Counsel for MV Realty of Colorado, LLC
                                                 Seese, P.A.
                                                 101 N.E. 3rd Avenue
                                                 Suite 1500
                                                 Fort Lauderdale, FL 33301
                                                 954-745-5897
                                                 mseese@seeselaw.com
